       Case 4:19-cr-00363 Document 338 Filed on 08/14/24 in TXSD Page 1 of 1
                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                      IN THE UNITED STATES DISTRICT COURT                            August 14, 2024
                      FOR THE SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk
                                HOUSTON DIVISION

  UNITED STATES OF AMERICA                    §
                                              §
  v.                                          §    CRIMINAL ACTION NO. H-19-363-1
                                              §
  ALDO RIGOBERTO GUERRA-                      §
  GUEVARA                                     §
  (BOP # 92467-479)                           §
                                              §

                                           ORDER

        Federal inmate Aldo Rigoberto Guerra-Guevara has filed two motions requesting that the

court order the United States to produce post-rehabilitation documents and medical records in

support of his pending motion for a sentence reduction. (Docket Entry Nos. 328 and 329). The

motions, Docket Entry No. 328 and Docket Entry No. 329, are denied. The United States has

recently been ordered to respond to the defendant’s motion to reduce sentence. (See Docket Entry

No. 337). If the court determines—after reviewing the government’s response to the motion to

reduce sentence—that additional documentation is needed, it will reconsider the defendant’s

motion on its own. Further, the “Motion for an Order Against Respondent for Default of

Judgment” (Docket Entry No. 333) is denied.
                               August 14
        SIGNED on _________________________________________, 2024, at Houston, Texas.



                                            __________________________________
                                                         Lee H. Rosenthal
                                                  United States District Judge
